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                               UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                          MDL No. 2741
   LIABILITY LITIGATION
                                                    Case No. 16-md-02741-VC


   This document relates to:                        ORDER REGARDING MONSANTO'S
                                                    WAVE 7 MOTION TO EXCLUDE
   Agosta v. Monsanto Co.,                          EXPERT KOTHARI
   Case No. 3:21-cv-06562-VC
                                                    Re: Dkt. No. 18951



       The excerpts of Dr. Kothari’s deposition submitted by Agosta cut off at page 155, in the

middle of a discussion about Dr. Tomasetti’s theory. Monsanto’s excerpts are even less

inclusive. The parties are ordered to file the pages of the deposition through the end of the

discussion about Tomasetti’s theory. This filing is due Wednesday, February 19 by 5:00 p.m.

       IT IS SO ORDERED.

Dated: February 18, 2025
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge
